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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                                 Plaintiff

 v.                                                            Case No. 3:23-CR-00014-DJH

 BRYAN DOUGLAS CONLEY,                                              Electronically Filed

                                 Defendant.


________________________________________________________________________________

  MOTION IN LIMINE TO EXCLUDE CERTAIN PSYCHOLOGICAL EVALUATIONS
________________________________________________________________________________

         Comes now Defendant Bryan Douglas Conley, by and through counsel, and hereby moves

this Court to exclude as evidence in this case certain psychological and psycho-educational

evaluations because the evaluations are irrelevant, they are unduly prejudicial, they have not been

authenticated, and because the government has not disclosed any expert to opine on the evaluations.

         “Adult Female 1” is the alleged victim of Count 3 in the Indictment. (See R. 4.) Previously,

this individual was identified as R.W. (See R. 45 in W.D. Ky. 3:19-CR-19.) On October 31, 2022,

the government produced several psychological / psycho-educational evaluations, and associated

documents, that had been conducted on R.W. more than twenty years ago. The evaluations are

dated: December 19, 1990; April 5, 1991; May 21, 1992; February 10, 1997; and August 2 & 3,

2001. These evaluations, collectively, have been identified, though not Bates stamped, by the

government as USA1713 - USA1766.

         The evaluations are irrelevant to this case. F.R.E. 401 states that “[e]vidence is relevant if:

(a) it has a tendency to make a fact more or less probable than it would be without the evidence; and

(b) the fact is of consequence in determining the action.” Psychological evaluations and psycho-

educational evaluations conducted on an alleged victim more than twenty years ago does not fit the
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definition of relevant. Therefore, pursuant to F.R.E. 402, the irrelevant psychological and psycho-

educational evaluations are inadmissible.

        Even if the Court determines the psychological and psycho-educational evaluations are

relevant, the evaluations should be excluded by operation of F.R.E. 403 because any probative

value the evaluations might have would be substantially outweighed by their unfair prejudice. The

government would only introduce these evaluations to show R.W.’s assessment results as they were

on the dates of the evaluations. The five evaluations were conducted when R.W. was: 9 years old

(two evaluations); 10 years old; 15 years old; and 19 years old, respectively. Conversely, R.W. was

37 years old at the time of the alleged conduct. Nothing in the evaluations purport to assess R.W. at

37 years old, and nothing in the reports can be projected onto R.W. at age 37 as nearly twenty years

passed from the time of her last evaluation to the time of the conduct alleged in the indictment. Any

reasoning for the evaluations, or any findings by the evaluations, would only serve to prejudice Mr.

Conley at trial because the jury would believe that the reasoning or findings of the evaluations were

somehow relevant to the alleged conduct and suggest that Mr. Conley knew or should have known

of the findings in the reports.

        Moreover, the government has not disclosed any experts to testify about the evaluations or

opine on how, if at all, the evaluations may be relevant to R.W. at the time of the alleged conduct.

The time to disclose any experts passed on February 27, 2023. (See R. 12.)

        Because the evaluations are irrelevant, because the evaluations’ probative value is

substantially outweighed by unfair prejudice, and because the government has not identified any

experts to testify and opine on the evaluations’ results, the Court should exclude the psychological

evaluations, psycho-educational evaluations, and any associated testimony related to documents

identified as USA1713-USA1766.




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                                                     Respectfully submitted,

                                                     /s/ Joshua F. Barnette
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on 27th day of March, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to all
counsel of record.



                                                     /s/ Joshua F. Barnette
                                                     Joshua F. Barnette




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